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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF NORTH CAROLINA
PDF FILE WITH AUDIO FILE ATTACHMENT

      21-10347
      LaTonja Rondetta Fant
      *6* Motion by Debtor to Impose Automatic Stay




      Case Type :                    bk
      Case Number :                  21-10347
      Case Title :                   LaTonja Rondetta Fant

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